    Case 1:21-cv-00052-3JP Document 478              Filed 10/24/22     Page 1 of 1




              UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R.
KELLY, JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:

                                        ORDER

       Upon reading defendants’ unopposed motion for a seven-day extension of time to

file their response to comments on the remand determination, it is hereby

       ORDERED that defendants’ motion be, and hereby is, granted; and it is

       ORDERED that the Court’s scheduling order dated August 15, 2022, ECF No.

469, is amended as follows:

           FILING                             DUE DATE
           Defendants’ Response to            November 4, 2022
           Comments on the Remand
           Determination
           Plaintiffs’ Reply                  December 5, 2022


                                            /S/    Mark A. Barnett for the Panel
                                            __________________________________
                                                           JUDGE

Dated: New York, New York

             24th day of October
       This ______       ______, 2022
